                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION

GORDON SIEVERT, Individually and on Behalf )           Case No.: 16-cv-1547
of All Others Similarly Situated,          )
                                           )           NOTICE OF DISMISSAL WITH
                                           )           PREJUDICE
               Plaintiff,                  )
        vs.                                )
                                           )
CARSON SMITHFIELD, LLC,                    )           Hon. Lynn Adelman
                                           )
                                           )
               Defendant.                  )

       THE PLAINTIFF, Gordon Sievert, by counsel, Ademi & O’Reilly LLP, hereby gives notice

pursuant to Rule 41 of the Federal Rules of Civil Procedure that this action is dismissed with

prejudice and without costs to either party. No class has been certified in this case, and therefore

Rule 23(e) of the Federal Rules of Civil Procedure does not apply. Further, the Defendant, Carson

Smithfield, LLC, has not served an answer or motion for summary judgment, and therefore, dismissal

does not require a court order, pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure.


Dated this 8th day of February 2017.          By:     s/ Mark A. Eldridge
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